Case 8:25-cr-00008-SDM-NHA          Document 19-1       Filed 03/14/25     Page 1 of 1 PageID 56




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


  UNITED STATES OF AMERICA,

                  Plaintiff,

  v.                                                 NO. 8:25-cr-00008-SDM-NHA-1

  OWEN MCKAY SHEED,

                  Defendant.



                           ORDER GRANTING UNOPPOSED MOTION
                               TO CONTINUE SENTENCING

          Defendant, Owen McKay Sheed, by counsel, K. Michael Gaerte, having filed his

  Unopposed Motion to Continue Sentencing, and the Court, being duly advised, hereby finds the

  Motion is GRANTED.

          IT IS, THEREFORE, CONSIDERED AND ORDERED that:

          Defendant’s Sentencing set in this matter on April 24, 2025, beginning at 9:00 a.m., be

  continued to: _____________________________________________.

  SO ORDERED __________________________, 2025.



  Distribution:

   K. Michael Gaerte                          Carlton Curtiss Gammons
   DENTONS BINGHAM GREENEBAUM LLP             US Attorney's Office – FLM, Suite 3200
   10 West Market Street, Suite 2700          400 N Tampa St
   Indianapolis, IN 46204                     Tampa, FL 33602-4798
   michael.gaerte@dentons.com                 carlton.gammons@usdoj.gov




  24547710.v1
